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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

  UNITED STATES OF AMERICA                 )
                                           )
        v.                                 )      CASE NO.: 1:15‐CR‐42‐TLS
                                           )
  SHAIKI SUTTON                            )

                                 OPINION AND ORDER

        During the investigation of an attempted bank robbery that occurred on June 17,

  2015, investigators came to believe that another robbery attempt, on a different

  institution, was imminent. Investigators obtained a search warrant that authorized

  placement of a tracking device on a white 2006 Pontiac as one of the vehicles they

  suspected would be used to facilitate the robbery. Defendant Shaiki Sutton had a

  property interest in the white Pontiac, and has filed a Motion to Suppress on grounds

  that the warrant should not have been issued because the Search Warrant Affidavit did

  not provide a substantial basis for a probable cause determination. For the reasons set

  forth in this Opinion and Order, the Court is unpersuaded by the Defendant’s

  arguments and denies his Motion to Suppress.




                             PROCEDURAL BACKGROUND

        The five co‐Defendants in this case, Sutton, Freddie L. Church, Jr., Tyler M.

  McCarthy, Christian Smith, and Autumn J. Carter, have been charged with conspiracy
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  to affect commerce by robbery under the Hobbs Act, 18 U.S.C. § 1951(a) and (b) (Count

  1); attempted robbery under the Hobbs Act, 18 U.S.C. § 1951(a) and (b) (Count 3);

  attempted entry into a credit union with the intent to commit armed bank robbery, 18

  U.S.C. § 2113(a) and (d) (Count 4); and, carrying a firearm during and in relation to a

  crime of violence, 18 U.S.C. § 924(c) (Count 5) [Indictment, ECF No. 36]. Two of the

  Defendants, McCarthy and Smith, are also charged with a separate attempt to commit

  armed bank robbery, 18 U.S.C. § 2113(a) and (d) (Count 2).

            On August 25, 2016, Defendant Sutton filed a Motion to Suppress Evidence [ECF

  No. 116]. The Defendant asked that the Court suppress “all evidence seized by the

  Government as a result of the Government’s use of a Global Positioning Device (GPS).”

  Because the police obtained a search warrant permitting them to attach the GPS unit to

  his vehicle, the Defendant’s Motion turned on the sufficiency of Search Warrant

  Affidavit that the issuing judge relied upon to authorize the placement of the GPS

  tracking device. The Defendant’s Motion also left open the possibility that the Affidavit

  disclosed false or misleading material in violation of Franks v. Delaware, 438 U.S. 154

  (1978).

            In response, the Government asserted that the Defendant had to first establish

  standing to challenge the warrant and that, in any event, the warrant was properly

  issued upon sufficient probable cause. The Government also noted that, after the



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  tracking device was installed on the white Pontiac, the movements of that vehicle were

  nonetheless witnessed by physical surveillance, both on the ground and in the air.

  Therefore, the traffic stop that led to the discovery of the evidence that the Defendant

  sought to suppress resulted from the independent observations of the officers, i.e. an

  independent source, and not from the tracking information. The Government stated

  that an evidentiary hearing would be necessary to resolve the standing issue and,

  possibly, the independent source issue.

         On October 21 and 27, 2016, the Court conducted evidentiary hearings. The

  parties’ post‐hearing briefs have narrowed the issues for consideration. Based on the

  testimony provided during the evidentiary hearings, the Government is no longer

  contesting the Defendant’s standing to challenge the attachment of the GPS unit to the

  white Pontiac. The Defendant’s Supplemental Brief [ECF No. 221] and Reply Brief [ECF

  No. 239], are chiefly concerned with whether the Search Warrant Affidavit provided

  sufficient grounds to authorize placement of the GPS device on his car. However, the

  Defendant also presents argument that extends beyond the four corners of the

  Affidavit, arguing that the Affidavit should have included information about the

  informant’s criminal history.




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                                 FACTUAL BACKGROUND

         On July 2, 2015, Darrin Strayer, a Detective with the Fort Wayne Police

  Department (FWPD), submitted a Search Warrant Affidavit to an Allen Superior Court

  judge. The judge granted the Warrant, which authorized the placement of GPS tracking

  devices on two vehicles for thirty days. One was a 2006 white Pontiac and the other a

  2007 red Chrysler.




  A.     Contents of the Search Warrant Affidavit

         According to Detective Strayer’s Affidavit, he believed that the two vehicles

  “have been and will be utilized as primary modes of transportation in connection with a

  criminal enterprise involved in the robberies of banks and credit unions.” (Aff. 1, Ex. 2

  to Suppression Hr’g.) He stated that use of a GPS tracking unit on these vehicles would

  facilitate the identification of individuals associated with the criminal enterprise. (Id. 3.)

         In support of his belief, Detective Strayer provided background about an

  attempted robbery of the Fire/Police Credit Union located on Inwood Drive in Fort

  Wayne on June 17, 2015, by two masked individuals. Three days after the attempted

  robbery, a “cooperating individual” told FWPD Detective Scott Criswell that he had

  information about two local bank robberies. On June 22, 2015, a member of the FBI

  Robbery Task Force, Roy Stuckey, met with the cooperating individual, who identified



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  Christian Smith, Tyler McCarthy, and Jordan Stroud, who he believed to be the brother

  of Autumn Carter, as the individuals who had attempted the robbery on June 17.

  However, Stroud had become scared and did not enter the Credit Union. This same

  day, the cooperating source had a conversation with Smith, during which Smith

  admitted that he and McCarthy were responsible for the attempted robbery of the

  Fire/Police Credit Union on June 17. This conversation was recorded, and Detective

  Strayer advised in the Affidavit that he had listened to the recording, which

  corroborated the cooperating individual’s statements.

        On July 1, the cooperating source relayed to Detective Strayer that Smith told the

  source that day that he was planning a bank robbery in Waterloo, Indiana. Additionally,

  McCarthy and others referred to as the “Ashley Crew” were planning to rob a bank

  within thirty miles of Fort Wayne, somewhere close to an interstate highway. Detective

  Strayer stated that a bank robbery had occurred in Ashley, Indiana, on June 15, 2015.

  The cooperating source asked Detective Strayer for a vehicle so he and Smith “could

  observe in Waterloo.” (Aff. 2.) Detective Strayer provided a vehicle to the cooperating

  source. The vehicle contained a tracking device.

        On July 2, law enforcement used the tracking device on the provided vehicle and

  visual surveillance to confirm that the cooperating source used the vehicle to meet up

  with Smith. They drove together to apartments at a Bridgeway Circle address in Fort



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  Wayne. Smith entered the apartment and, when he returned to the vehicle, Smith and

  the cooperating source drove to Waterloo. They drove around an area close to the

  Farmer’s State Bank, then returned to the Bridgeway Circle address. Smith, McCarthy,

  and the cooperating source then went to a McDonald’s before returning to the same

  apartments. The cooperating source reported that Smith went inside the apartment the

  first time to give McCarthy a gun for a bank robbery planned for that day. He stated

  that, the second time, Smith entered the apartment and returned wearing different

  clothing, which visual surveillance confirmed. According to the source, Smith told him

  while they were at McDonald’s that Smith, McCarthy, and the Ashley Crew were going

  to rob a bank in the next hour. When the cooperating source dropped Smith and

  McCarthy back at the apartment, Smith said he would call the source to pick him up

  after the robbery.

         At around noon, Smith, McCarthy, and two male blacks believed to be Church

  and Sutton, left the apartment and entered the 2006 white Pontiac. A minute later, a

  black female identified as Autumn Carter left the apartment and got inside a 2007 red

  Chrysler. Officers in unmarked vehicles followed the two vehicles. The vehicles first

  stopped at a gas station, then continued on Interstate 69 South to the 264 exit in Grant

  County. Carter, in the red Chrysler, stopped at a gas station on Highway 18 across the

  street from the Via Credit Union. She positioned the vehicle to have a view of the credit



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  union. The driver of the Pontiac drove around the credit union four times without

  entering its parking lot. Twenty‐nine minutes later, the two vehicles left the area. They

  returned to the apartments on Bridgeway Circle.

         The cooperating source called Detective Strayer to tell him that Smith still

  planned on robbing the Waterloo bank the next day, July 3, 2015.




  B.     Police Surveillance on July 2 and July 3, 2015

         Detective Roy Stucky, and others, testified concerning details that investigators

  observed during surveillance of the Co‐defendants’ movements on July 2. This

  information was not a part of the Search Warrant Affidavit. According to this testimony

  when the four males left the apartments and got in the white Pontiac, they were

  wearing dark clothing. During one of the passes the car made past the Via Credit

  Union, the driver stopped so that paper could be placed over the license plate. This

  method had been used in previous bank robberies to obscure any witness’s view of the

  license plate. During the nearly thirty minutes that the white car drove around the

  credit union, the red car remained parked at the gas station. The driver never pumped

  gas, went into the store, or even exited the car. Both cars then traveled back to the

  apartments in Fort Wayne.

         The GPS tracking units were installed during the early morning hours of July 3.



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  Concerned that bank robberies were imminent—either in Waterloo, Marion, or

  both—law enforcement took precautionary measures. Officers and surveillance units

  were located in the Waterloo area and had consulted with the bank’s management. In

  Marion, the Via Credit Union did not open for business. The employees parked their

  cars as usual, but they were not at the credit union.

         At 5:30 AM on July 3, officers began conducting surveillance outside the

  apartment. Around 8:00 AM, one of the individuals left the apartment and wiped down

  the door handles and doors of the white Pontiac. Officers believed this was intended to

  remove finger prints. A short time later, the same four males from the previous day,

  again dressed in dark clothing, loaded into the Pontiac. The female got into the red

  Chrysler. Several unmarked law enforcement vehicles were used to keep a visual on the

  cars as they headed to Marion. Additionally, an FBI airplane was used to conduct air

  surveillance.

         The cars used the same route they had the previous day to get to Marion. The red

  car parked in the same location at the gas station. Investigators believed the driver of

  the red car was acting as a look out or as a diversion or switch car, if necessary. The case

  agent testified about the white car’s movements for first twenty‐five to thirty minutes

  after exiting the highway:

         The white car goes up and down the county roads as it did previously, made
         several passes by the bank. It stopped in driveways, and did several U‐turns


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         at one point. It stopped in the—the airplane surveillance believed that they
         were covering the plate up as they did the previous day.

         They made a couple more passes by the bank. At one point, they slowed in
         front of the bank and almost had come to a stop, and I remember at which
         time we thought that maybe they were going to pull in the bank at that time
         in an attempt to rob it.

  (Tr. 94.) Around 10:00 AM, the airplane surveillance saw the white Pontiac pull into the

  credit union parking lot. The car parked at about a forty‐five degree angle just in front

  of the entrance doors. The driver, front seat passenger, and rear driver‐side passengers

  immediately exited the vehicle and ran to the credit union door. The other rear

  passenger was slow to exit. After pulling on the locked door, they all turned and ran

  back into the car. “[T]hey were in such a hurry to leave that the individual exiting the

  passenger‐side rear still had a leg hanging out and just got his leg back in as the vehicle

  was rapidly in reverse.” (Tr. 97.) As the car exited the parking lot, it pulled onto the

  county highway without stopping. The police units that had been in place around the

  credit union stopped the car. Another traffic stop was conducted on the red Chrysler

  that was parked at the gas station.




                                          ANALYSIS

  A.     GPS Tracking Device and Search Warrant

         The installation of a GPS tracking device on a vehicle, and “use of that device to



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 monitor the vehicle’s movements” is a “search” within the meaning of the Fourth

 Amendment. United States v. Jones, 565 U.S. 400, 404 (2012). As such, a search warrant,

 establishing probable cause, is required. “If an affidavit is the only evidence presented

 to the judge in support of a search warrant,” as it was here, “the validity of the warrant

 depends on the strength of the affidavit.” United States v. Carson, 582 F.3d 827, 831–32

 (7th Cir. 2009) (citing United States v. Peck, 317 F.3d 754, 755 (7th Cir. 2003)).

        The “central teaching of [Supreme Court] decisions bearing on the probable

 cause standard is that it is a ‘practical, nontechnical conception.’” Illinois v. Gates, 462

 U.S. 213, 231 (1983) (quoting Brinegar v. United States, 338 U.S. 160, 176 (1949)).

 “[P]robable cause is a fluid concept—turning on the assessment of probabilities in

 particular factual contexts—not readily, or even usefully, reduced to a neat set of legal

 rules.” Id. at 232. “Probable cause is established when, based on the totality of the

 circumstances, the affidavit sets forth sufficient evidence to induce a reasonably

 prudent person to believe that a search will uncover evidence of a crime.” Peck, 317 F.3d

 at 756. For this reason,

        The task of the issuing magistrate is simply to make a practical, common‐
        sense decision whether, given all the circumstances set forth in the
        affidavit before him, including the “veracity” and “basis of knowledge” of
        persons supplying hearsay information, there is a fair probability that
        contraband or evidence of a crime will be found in a particular place.

 Gates, 462 U.S. at 238. “A magistrate’s determination of probable cause should be paid



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 great deference by reviewing courts.” Id. at 236 (quotation marks omitted). “[T]he duty

 of a reviewing court is simply to ensure that the magistrate had a substantial basis for

 concluding that probable cause existed.” Id. at 238–39 (citation, quotation marks,

 brackets, and ellipsis omitted).

        The Defendant emphasizes that there is nothing in the Affidavit to suggest that

 the 2006 Pontiac, or the Defendant, had been involved in a previous robbery. The

 Affidavit’s first mention of the Pontiac is when Smith, McCarthy, and two other black

 males got into the Pontiac and drove to Grant County on July 2, 2015. Additionally, the

 Affidavit never conclusively identifies Sutton as one of the occupants. These arguments

 are non‐starters.

        There was no requirement that law enforcement positively know the identities of

 all the occupants of the vehicle. The totality of the information provided to the judge

 was sufficient for her to make a practical, common‐sense decision that there was a fair

 probability that monitoring the movement of the vehicle would provide evidence that a

 bank robbery was being planned or attempted. Particularly in light of the individuals

 who had been positively identified as being in the car—Smith and McCarthy. The

 cooperating source stated that Smith and McCarthy, along with the Ashley Crew,

 intended to rob a bank thirty minutes from Fort Wayne, off of an interstate highway.

 Smith had already been heard during a recorded conversation admitting to a previous



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 robbery. Smith and McCarthy, along with two other males, then proceeded to drive

 thirty minutes away from Fort Wayne and engage in activity entirely consistent with

 deciding whether to rob a bank. The circumstances of the trip to Marion by the five

 individuals in the two vehicles was sufficiently suspicious to induce a reasonably

 prudent person to believe that they intended to engage in illegal conduct, particularly to

 rob a financial institution. Even if the Defendant had not been involved in previous

 robberies as part of the Ashley Crew, it was reasonable to believe that he was in the

 planning stages to participate in a future robbery. It was also fair to believe that the

 white Pontiac would be used in any such attempt, having just been used that day as the

 means of transportation to bring the four men to Marion under circumstances that

 would seem suspicious to any reasonably prudent person. Considering the totality of

 circumstances, the judge had a substantial basis to conclude that tracking the white

 Pontiac would reveal evidence related to an attempted bank robbery.




 B.     Matters Outside the Four Corners of the Affidavit

        “[T]he law allows a challenge of affidavits on the ground that material facts were

 omitted and that the omission was made intentionally or with reckless disregard for the

 truth.” United States v. Sims, 551 F.3d 640, 645 (7th Cir. 2008) (first citing United States v.

 Williams, 737 F.2d 594, 604 (7th Cir. 1984); then citing United States v. McNeese, 901 F.2d



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 585, 594 (7th Cir. 1990)); see also Franks v. Delaware, 438 U.S. 154, 155–56 (1978). The

 Defendant argues that Detective Strayer omitted material and substantial information

 about the cooperating source’s criminal history. Particularly, the Defendant believes

 that the source’s 2012 conviction for false informing and his 2013 and 2014 convictions

 for shoplifting should have been included in the Affidavit.

        The Court finds that the omission cannot be said to arise to the level of

 negligence, much less intentional or reckless disregard for the truth. The Affidavit,

 assessed as a whole, Carson, 582 F.3d at 832, contained sufficient details to establish the

 credibility of the source’s statements on material matters, and to establish probable

 cause. While the informant’s credibility may have been of critical importance during the

 initial stages of the investigation, independent police work quickly became the focus.

 The Affidavit described the extensive efforts by police to corroborate that the

 informant’s statements were accurate. See Carson, 582 F.3d at 832 (noting that the extent

 to which police have corroborated an informant’s information is a factor courts consider

 when reviewing adequacy of affidavit) (citing United States v. Koerth, 312 F.3d 862, 866

 (7th Cir. 2002)). Another factor is the “the degree to which the informant has acquired

 knowledge of the events through firsthand observation.” Id. Here, the source actually

 drove Smith to Waterloo (which investigators observed), and had conversations with

 him regarding a previous bank robbery attempt and an upcoming robbery.



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 Additionally, the details in the Affidavit, derived from both the informant’s statements

 and from police surveillance, suggested that the Pontiac was going to be used to

 commit another robbery within a matter of days, not some nebulous future date.

 Moreover, “a magistrate in the exercise of sound judgment is entitled to give greater

 weight to a tip from a known informant, who can be held responsible should he be

 found to have given misleading information to police officers, and thus has an incentive

 to provide truthful information to the detectives.” Koerth, 312 F.3d at 871.

        This Court’s review of the Affidavit reveals that the issuing judge had a

 substantial basis for concluding that probable cause existed to issue the warrant, and

 the omission of the informant’s arrests does not detract from this finding.




 C.     Independent Source and Exclusionary Rule

        Even if the GPS unit had been attached to the Defendant’s vehicle without a

 warrant, nothing in the record suggests that any data from the GPS device was used to

 obtain evidence that will be used against the Defendant. The independent source

 doctrine is intended to avoid putting police in a worse position than they would have

 been by allowing the admission of evidence obtained by independent legal means.

 United States v. Gonzalez, 555 F.3d 579, 581 (7th Cir. 2009). The Court finds that the

 holding in United States v. Martin, 712 F.3d 1080 (7th Cir. 2013), is instructive. In Martin,



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 the court rejected an argument for suppression where data from an improperly attached

 GPS only “aided law enforcement officials in tracking down” the defendant for arrest.

 Id. at 1082. The court distinguished the case from situations where “the GPS data was

 used to establish a necessary link between the defendant” and his criminal activity. Id.

        The GPS unit was not installed on the Defendant’s car until July 3. Thus,

 investigators were not assisted by the GPS unit on July 2, but relied solely on physical

 surveillance. (Tr. 69.) Although several officers had the capability of monitoring the GPS

 units from their cars on July 3, the GPS units were intended to be a secondary measure

 to the ground and air surveillance that occurred on July 3. This surveillance maintained

 constant watch on the white Pontiac, and thus there was no need to use the GPS data.

 As the Government notes, there was no mention at the evidentiary hearing of this data

 facilitating the investigation. Thus, there is no indication that the search, by way of the

 GPS tracker on the white Pontiac, had any bearing on the decisions to stop the vehicle

 on July 3, 2015, after it left the Via Credit Union, and to seize the car’s occupants.

 Accordingly, even if the GPS tracker had been illegally installed, there would be no

 basis to exclude from trial the evidence officers obtained as a result of the stop and

 search of the vehicle.




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                                    CONCLUSION

       For the reasons stated above, the Court DENIES the Defendant’s Motion to

 Suppress Evidence [ECF No. 116].

       SO ORDERED on May 16, 2017.

                                       s/ Theresa L. Springmann
                                       CHIEF JUDGE THERESA L. SPRINGMANN
                                       UNITED STATES DISTRICT COURT




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